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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  MATTHEW DENNING,

                Plaintiff,

  v.

  PREMIERE CREDIT OF NORTH AMERICA, LLC, an Indiana limited liability company,

                Defendant.


                             COMPLAINT AND JURY DEMAND


                                      JURISDICTION

  1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.    This action arises out of the Defendant’s violations of the Fair Debt Collection

        Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                           VENUE

  3.    Venue is proper in this District because the acts and transactions occurred here,

        the Plaintiff resides here, and the Defendant transacts business here.

                                          PARTIES

  4.    Plaintiff, Matthew Denning, is a natural person who resides in the City of Denver,

        County of Denver, State of Colorado.

  5.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
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  6.    Defendant, Premiere Credit of North America, LLC, is an Indiana limited liability

        company operating from an address at 2002 North Wellesley Boulevard, Suite 100,

        Indianapolis, Indiana, 46219.

  7.    The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  8.    The Defendant is licensed as a collection agency by the state of Colorado.

  9.    The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  10.   The Defendant regularly attempts to collect debts alleged to be due another.

                                FACTUAL ALLEGATIONS

  11.   Sometime before December 2007 the Plaintiff allegedly incurred a financial

        obligation that was primarily for personal, family or household purposes namely

        an amount due and owing on a personal account (hereinafter the “Account”).

  12.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  13.   The Account went into default with the original creditor.

  14.   Sometime after the Account went into default the Account was placed or

        otherwise transferred to the Defendant for collection from the Plaintiff.

  15.   In the year prior to the filing of the instant action the Plaintiff received telephone

        calls and voicemail messages from the Defendant and / or representatives,

        employees and / or agents of the Defendant who were attempting to collect the

        Account. The Plaintiff called the Defendant in response to the telephone calls

        and voicemail messages. These telephone calls and voicemail messages each

        individually constituted a “communication” as defined by FDCPA § 1692a(2).
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  16.   During the telephone calls the Defendant and / or representatives, employees

        and / or agents of the Defendant attempting to collect the Account falsely

        threatened to garnish the Plaintiff’s wages.

  17.   In the year prior to the filing of the instant action the Defendant and / or

        representatives, employees and / or agents of the Defendant attempting to

        collect the Account repeatedly called the Plaintiff at his place of employment after

        the Plaintiff repeatedly told the Defendant and / or representatives, employees

        and / or agents of the Defendant to stop calling him at work as it would get him in

        trouble.

  18.   In the year prior to the filing of the instant action the Defendant and / or

        representatives, employees and / or agents of the Defendant attempting to

        collect the Account repeatedly sent facsimile documents to the Plaintiff’s place of

        employment requesting verification of employment. The Plaintiff never authorized

        the Defendant to send any facsimile documents to his place of employment.

  19.   The statements and actions were undertaken by the Defendant and its

        representatives, employees and / or agents as part of a campaign of abusive and

        unlawful collection tactics directed at the Plaintiff.

  20.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute illegal communication in connection with debt collection

        and therefore violate FDCPA 1692c(a)(1), c(a)(3) and c(b).
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  21.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute harassment or abuse and therefore violate FDCPA 1692d

        preface and d(2).

  22.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute false and misleading representations and means and

        violate FDCPA 1692e preface, e(2)(A), e(3), e(4), e(5), e(7), e(10) and e(11).

  23.   The Defendant and its representatives, employees and / or agents statements

        and actions constitute unfair or unconscionable means to collect or attempt to

        collect a debt and violate FDCPA 1692f preface.

  24.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were attempts to frighten,

        harass and abuse the Plaintiff into paying the alleged debt.

  25.   The Defendant’s statements and actions as well as that of its

        representatives, employees and / or agents were willful and intentional

        violations of the FDCPA.

  26.   As a consequence of the Defendant’s collection activities and

        communications, the Plaintiff has sustained actual damages.

                                   RESPONDEAT SUPERIOR

  27.   The representatives and / or collectors at the Defendant were employees of and

        agents for the Defendant, were acting within the course and scope of their

        employment at the time of the incidents complained of herein and were under the

        direct supervision and control of the Defendant at all times mentioned herein.
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  28.   The actions of the representatives and / or collectors at the Defendant are

        imputed to their employer, the Defendant.

  29.   As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered

        the aforementioned damages.

                                COUNT I, FDCPA VIOLATIONS

  30.   The previous paragraphs are incorporated into this Count as if set forth in full.

  31.   The acts and omissions of the Defendant and its representatives, employees and

        / or agents constitute numerous and multiple violations of the FDCPA, including

        but not limited to § 1692c(a)(1), c(a)(3), c(b), § 1692d preface, d(2), § 1692e

        preface, e(2)(A), e(3), e(4), e(5), e(7), e(10), e(11) and § 1692f preface.

  32.   The Defendant’s violations are multiple, willful and intentional.

  33.   Pursuant to FDCPA section 1692k the Plaintiff is entitled to actual damages,

        statutory damages up to $1,000.00, reasonable attorney's fees and costs.
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                               JURY TRIAL DEMAND

  The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

  Fed. R. Civ. Pro. 38.

                                        PRAYER

  WHEREFORE, the Plaintiff prays that the Court grants the following:

  1.   Actual damages under 15 U.S.C. § 1692k(a)(1).

  2.   Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

  3.   Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

  4.   Such other and further relief as the Court deems just and proper.

                                          Respectfully submitted,


                                          _s/ David M. Larson___________
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